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13 STEADFAST NETWORKS, LLC
14                         UNITED STATES DISTRICT COURT
15                     CENTRAL DISTRICT COURT OF CALIFORNIA
                                 WESTERN DIVISION
16
17     ALS SCAN, INC.,                             Case No.: 2:16-cv-05051-GW-AFM
18     a Maryland Corporation,
                                                   JOINT STIPULATION OF
19     Plaintiff,                                  CONTINUATION OF HEARING ON
20                                                 DEFENDANT STEADFAST
       v.                                          NETWORKS, LLC’S HEARING ON
21                                                 MOTION FOR ATTORNEYS’ FEES
22     CLOUDFLARE, INC.                            AND EXPENSES
       a Delaware corporation,
23
       et al.                                      Hearing Date: July 30, 2018
24                                                 Hearing Time: 8:30 a.m.
25     Defendants.                                 Place: Courtroom 9D, 9th Fl.
                                                          350 West 1st Street
26                                                        Los Angeles, CA, 90012
27                                                 Judge: Hon. George H. Wu
28



            JOINT STIPULATION OF CONTINUATION OF HEARING ON DEFENDANT STEADFAST NETWORKS, LLC’S
                             HEARING ON MOTION FOR ATTORNEYS’ FEES AND EXPENSES
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 1          The parties have met and conferred concerning the hearing on Steadfast
 2 Networks, LLC’s motion for attorneys’ fees and expenses, Dkt. 530. Due to
 3 conflicts, ALS Scan, Inc. requested that the hearing be rescheduled. Steadfast agrees
 4 to the rescheduling. The parties hereby stipulate, subject to Court order:
 5          That the hearing on Steadfast’s motion for attorneys’ fees and expenses shall
 6 be continued to July 30, 2018.
 7          The parties further stipulate to the following dates for the opposition and
 8 reply papers:
 9          Plaintiff ALS Scan, Inc’s opposition shall be due July 9, 2018; and
10          Defendant Steadfast Networks, LLC’s reply shall be due July 16, 2018.
11
12                                                   Respectfully submitted,
13                                                JOHN L. AMBROGI
14                                                COLIN T.J. O’BRIEN
                                                  PARTRIDGE PARTNERS, P.C.
15
16                                                   PAUL D. SUPNIK
17
      Dated: May 30, 2018                     By: /s/John L. Ambrogi
18                                                John L. Ambrogi
19                                                Attorneys for Steadfast Networks, LLC
20
21 Dated: May 30, 2018                        By: /s/Jay M. Spillane
                                                     Jay M. Spillane
22
                                                     Attorneys for Plaintiff ALS Scan, Inc.
23
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                                                 1
        JOINT STIPULATION CONTINUING HEARING ON DEFENDANT STEADFAST NETWORKS, LLC’S HEARING ON
                                MOTION FOR ATTORNEYS’ FEES AND EXPENSES
     Case 2:16-cv-05051-GW-AFM Document 534 Filed 05/30/18 Page 3 of 3 Page ID #:15314




 1                                   PROOF OF SERVICE
 2
   I, Colin T.J. O’Brien, certify that I am an attorney at law, licensed to practice in the
 3 State of Illinois and I am admitted to appear before the United States District Court
 4 for the Central District of California, and a true copy of the foregoing document
   JOINT STIPULATION OF CONTINUATION OF HEARING ON
 5 DEFENDANT STEADFAST NETWORKS, LLC’S HEARING ON MOTION
 6 FOR ATTORNEYS’ FEES AND EXPENSES was served via electronic filing to
   the following parties in this action via their counsel:
 7
 8          ALS Scan, Inc.
 9
      A true copy of the foregoing document was hand delivered to:
10
11 Hon. George H. Wu
   U.S. District Court
12
   350 W. 1st Street
13 Courtroom 9D
14 Los Angeles, CA 90012
15 Via attorney service
16
          I declare under penalty of perjury under the laws of the United States that
17
   the foregoing is true and correct.
18
19
20 Dated: May 30, 2018                                /s/ Colin T.J. O’Brien
                                                      Attorney for Defendant
21                                                    Steadfast Networks, LLC
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25
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          JOINT STIPULATION OF CONTINUATION OF HEARING ON DEFENDANT STEADFAST NETWORKS, LLC’S
                           HEARING ON MOTION FOR ATTORNEYS’ FEES AND EXPENSES
